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    13
                               CENTRAL DISTRICT OF CALIFORNIA
    14
                                          WESTERN DIVISION
    15
    16
         Jenny Lisette Flores., et al.,             Case No. CV 85-4544-DMG-AGRx
    17
                          Plaintiffs,               STIPULATION RE HEARING ON
    18                                              EAJA MOTION
               v.
    19
         William Barr, Attorney General of the
    20   United States, et al.,
                                                    Hearing: October 11, 2019 9:30 AM
    21                    Defendants.
                                                    [HON. DOLLY M. GEE]
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Case 2:85-cv-04544-DMG-AGR Document 694 Filed 10/07/19 Page 2 of 5 Page ID #:33665



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    28                                            -1-     Stipulation re EAJA Motion
                                                          CV 85-4544-DMG-AGRx
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     1         On May 28, 2019, Plaintiffs filed a Notice of Motion and Motion for Award
     2
         of Attorneys’ Fees; Memorandum in Support of Motion (“Motion”). [Dkt. # 545].
     3
     4   On May 29, 2019, the Court denied Plaintiffs’ Motion without prejudice and

     5   ordered the Motion to be re-filed following a meet and confer. [Dkt. # 546]. On
     6
         June 07, 2019, Plaintiffs filed an Amended Notice of Motion and Motion for Award
     7
     8   of Attorneys’ Fees; Memorandum in Support of Motion. [Dkt. # 550]. On July 12,

     9   2019, Defendants filed Defendants’ Opposition to Plaintiffs’ Amended Motion for
    10
         Award of Attorneys’ Fees. [Dkt. # 597]. On September 27, 2019, Plaintiffs filed
    11
    12   Plaintiffs’ Reply to Defendants’ Opposition to Plaintiffs’ Amended Motion for
    13   Award of Attorneys’ Fees. [Dkt. # 691]. On August 05, 2019, the Court issued an
    14
         Order, inter alia, scheduling a hearing on Plaintiffs’ Motion for October 11, 2019,
    15
    16   at 9:30 a.m. [Dkt. # 613].
    17         Plaintiffs’ class counsel is scheduled to be out of town on October 11, 2019.
    18
         See Declaration of Peter A. Schey at ¶ 2 (attached as Exhibit 1). The parties have
    19
    20   met and conferred and stipulate that Plaintiffs’ Motion may be submitted without a
    21   hearing or, in the event the Court nevertheless wishes to schedule a hearing, the
    22
         parties respectfully request that the hearing be continued to a new date and time to
    23
    24   be set by the Court. Id. at ¶ 3.
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     1                               Respectfully submitted,
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     3   Dated: October 7, 2019      /s/Peter Schey
                                      Class Counsel for Plaintiffs
     4
                                      CENTER FOR HUMAN RIGHTS &
     5                                CONSTITUTIONAL LAW
                                      Peter A. Schey
     6
                                      Carlos Holguín
     7                                Rachel Leach
     8
     9   Dated: October 7, 2019      /s/ Sarah B. Fabian (with permission)
                                     Counsel for Defendants
    10
                                     U.S. DEPARTMENT OF JUSTICE
    11                               Sarah B. Fabian
                                     Senior Litigation Counsel
    12
                                     Office of Immigration Litigation
    13                               District Court Section
    14
    15   ///
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     1
                                     CERTIFICATE OF SERVICE
     2
     3
                  I, Peter Schey, declare and say as follows:
     4
                  I am over the age of eighteen years of age and am not a party to this action. I
     5
         am employed in the County of Los Angeles, State of California. My business
     6
         address is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and
     7
         state.
     8
                  On October 7, 2019 I electronically filed the following document(s):
     9
    10        • STIPULATION RE HEARING ON EAJA MOTION
    11
         with the United States District Court, Central District of California by using the
    12
         CM/ECF system. Participants in the case who are registered CM/ECF users will be
    13
         served by the CM/ECF system.
    14
    15                                                                 /s/Peter Schey
                                                                       Attorney for Plaintiffs
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    28                                                    -1-       Stipulation re EAJA Motion
                                                                    CV 85-4544-DMG-AGRx
